2. Case 4:19-mj- cosas Document 9 Filed 05/21/19 @- lofi PagelD 12

 

 

 

 

 

 

 

 

: i tay ae IN THE UNITED STATES DISTRICT COURT
QP tad ee FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION U.S. DisTRICT COURT
NORTHERN DISTRICT OF TEXAS
UNITED STATES OF AMERICA LED
v. No. 4:19-MJ-433
Y 212
MICHAEL WEBB (01) MA 2019
GOVERNMENT’S MOTION FOR PRETRIAL DETENTION RK.US DISTRICT COURT
The United States moves for pretrial detention of the defendant pursuant to 18 U.S.C. §§ 3142(e) By
epuly

 

 

1. Eligibility of Case: This case is eligible for a detention order because the case involves:

Crime of violence [18 U.S.C. § 3156]

Maximum sentence of LIFE imprisonment or death

Controlled Substance offense punishable by 10 or more years

Felony with 2 prior convictions in above categories

Felony involving a minor victim

Felony involving the possession or use of a firearm, destructive device, or other dangerous weapon
Felony involving a failure to register under 18 U.S.C. § 2250

Serious risk that the Defendant will flee

Serious risk that Defendant will obstruct justice

SKOOROORw

2. Reason for Detention. The Court should detain the Defendant because there are no conditions of release which
would reasonably assure:
xX Defendant's appearance as required KX] The safety of the community XI =‘ The safety of another person

3. The United States will invoke the rebuttable presumption against the Defendant because: there is probable cause to
believe that the Defendant has committed:

C] A Controlled Substance Offense punishable by 10 or more years imprisonment

CT A firearms offense under 18 U.S.C. § 924(c)

Oo A federal crime of terrorism punishable by 10 or more years imprisonment

X A Felony -listed in 18 U.S.C. § 3142(e) - involving a minor victim

C] A Felony involving a failure to register under 18 U.S.C. § 2250 ;

CO The Defendant has previously been convicted of an offense described in 18 USC § 3142(f)(1) which was committed
while the Defendant was released on bond pending trial for any offense and less than 5 years have elapsed since the
latter of the defendant’s conviction or date of release from imprisonment for such conviction.

4. Time for Detention Hearing. The United States requests the Court to conduct the detention hearing
[1 at the Defendant's first appearance After a continuance of _3_ days.
Respectfully submitted,
ERIN NEALY COX

UNITED STATES ATTOR

 

fo Assistant United States Attorney
Texas State Bar No. 00786218
Burnett Plaza, Suite 1700
801 Cherry Street, Unit #4
Fort Worth, Texas 76102
Tel: 817.252.5200

CERTIFICATE OF SERVICE

I certify that a true and correct copy of the above pleading was this day served upon the Defendant or his counsel of
record in accordance with the provisions of Rule 49 of the Federal Rules of Criminal Procedure.

-

DATE: March 21, 2019

AISHA SALEEM
Assistant United States Attorney

 
